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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            2:13-CR-00330-KJM
12                  Plaintiff,                            PRELIMINARY ORDER OF
                                                          FORFEITURE
13          v.
14   GLEN EDWARD MEYERS, and
     AIMEE SHARON BURGESS,
15
                    Defendants.
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            Based upon the plea agreement entered into between plaintiff United States of America and
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     defendants Glen Edward Meyers and Aimee Sharon Burgess it is hereby ORDERED, ADJUDGED
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     AND DECREED as follows:
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            1.     Pursuant to 18 U.S.C. § 982 and 21 U.S.C. § 853(a), defendants Glen Edward Meyers
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     and Aimee Sharon Burgess’ interest in the following property shall be condemned and forfeited to
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     the United States of America, to be disposed of according to law:
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                   a. Any and all funds maintained at Scottrade brokerage account number 55530461,
24                    held in the name of Glen E. Meyers;
25                 b. Any and all funds maintained at E*Trade Securities LLC account number
                      67575072, held in the name of Glen E. Meyers, except for $111,834.00, which the
26                    defendant may retain;
27                 c. All Western Union money orders in the amount of $6,500, seized pursuant to
                      warrant number 2:12-SW-0839 EFB;
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                                                      1
                                                                              Preliminary Order of Forfeiture
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                2.    The above-listed property constitutes property used, or intended to be used, in any
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     manner or part, to commit, or to facilitate the commission of violations of 18 U.S.C. § 1956, 21
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     U.S.C. § 841(a)(1) and 31 U.S.C. § 5324.
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                3.    Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to
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     seize the above-listed property. The aforementioned property shall be seized and held by the
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     Internal Revenue Service, in its secure custody and control.
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                4.    a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall
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     publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s
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     (or a designee’s) intent to dispose of the property in such manner as the Attorney General may direct
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     shall be posted for at least thirty (30) consecutive days on the official internet government forfeiture
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     site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct
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     written notice to any person known to have alleged an interest in the property that is the subject of
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     the order of forfeiture as a substitute for published notice as to those persons so notified.
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                      b.      This notice shall state that any person, other than the defendant, asserting a
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     legal interest in the above-listed property, must file a petition with the Court within sixty (60) days
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     from the first day of publication of the Notice of Forfeiture posted on the official government
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     forfeiture site, or within thirty (30) days from the receipt of direct written notice, whichever is
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     earlier.
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                5.    If a petition is timely filed, upon adjudication of all third-party interests, if any, this
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     Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982 and 21 U.S.C. § 853(a), in
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     which all interests will be addressed.
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                SO ORDERED this 30th day of December, 2014.
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                                                                UNITED STATES DISTRICT JUDGE
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                                                                                       Preliminary Order of Forfeiture
